             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:09-cr-00023-MR-5


UNITED STATES OF AMERICA, )
                            )
                            )
         vs.                )                 ORDER
                            )
                            )
KENNETH LEE GARDNER.        )
___________________________ )

     THIS MATTER is before the Court upon the Defendant’s “Motion to

Modify 3582(c)” [Doc. 322].

     The Defendant, proceeding pro se, moves for a reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment 750 to the

Sentencing Guidelines with regard to crack cocaine offenses. [Doc. 322].

     The Defendant was initially charged in this case with conspiracy to

possess with intent to distribute a quantity of cocaine base (i.e., crack

cocaine). [Doc. 1]. This charge, however, was dismissed without prejudice

on July 31, 2009. [Doc. 179]. The Defendant subsequently pled guilty to

possessing a quantity of cocaine, not cocaine base. [See Criminal Case

No. 1:09-cr-0063-MR-DCK-1]. As this Defendant was not held responsible

for any crack cocaine, Amendment 750 is not applicable and no reduction

in sentence is warranted.


   Case 1:09-cr-00023-MR-WCM   Document 353   Filed 07/11/13   Page 1 of 2
     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion [Doc. 322] is DENIED.

     IT IS SO ORDERED.         Signed: July 10, 2013




                                          2



   Case 1:09-cr-00023-MR-WCM     Document 353          Filed 07/11/13   Page 2 of 2
